  Case 4:22-cv-00343-Y Document 209 Filed 02/20/24                   Page 1 of 1 PageID 4874


                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH   DIVISION

ROBERT     (BOB) ROSS,                          §
                                                §
Vv.                                             §    CIVIL ACTION NO. 4:22-CV-343-Y
                                                §    (Consolidated w/ 4:22-CV-430-Y)
ASSOCIATION OF PROFESSIONAL                     §
FLIGHT ATTENDANTS, et al.,                      §
                                                §
EUGENIO VARGAS,                                 §
                                                §
Vv.                                             §
                                                §
ASSOCIATION OF PROFESSIONAL                     §
FLIGHT ATTENDANTS, et al.,                      §

                               ORDER EXPEDITING BREIFING

        Pending before the Court is Defendants’ Motion for Rules 30(d) and 37(b) Sanctions [doc.

205].   Because of the impending dispositive motions deadline, the Court has determined that

expedited briefing is appropriate.

        Based on the foregoing, it is ORDERED       that Plaintiff Response be filed on or before

Monday, February 26, 2024, and Plaintiffs’ Reply be filed on or before Friday, March 1, 2024.

                SIGNED February 20, 2024.                           ees    et


                                                               ie

                                                     JEFFREY,b?       CURETON
                                                     UNITED SFATES MAGISTRATE JUDGE
                                                           é
